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                  IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF TEXAS

                                LUFKIN DIVISION

 UNITED STATES OF AMERICA               §

 VS.                                    §     CASE NO. 9:06cr46(1)

 WILFORD EARL PATTON                    §

                       REPORT AND RECOMMENDATION
                   OF UNITED STATES MAGISTRATE JUDGE

       Defendant Wilford Earl Patton has filed a motion pursuant to

 Federal   Rule   of   Civil     Procedure    60(b)    asking    the    court   to

 reconsider the Judgment in a Criminal Case previously entered in

 this matter. The motion was referred to the undersigned United

 States Magistrate Judge for findings of fact, conclusions of law

 and a recommended disposition.

       In 2006, pursuant to a plea of guilty entered in accordance

 with a written plea agreement, the defendant was convicted of being

 a felon in possession of a firearm.          He was sentenced to 272 months

 imprisonment.    His appeal was dismissed by the United States Court

 of Appeals for the Fifth Circuit. United States v. Patton, No. 07-

 40865 (5th Cir. Dec. 22, 2008). On January 11, 2010, a motion to

 vacate, set aside or correct sentence filed by the defendant

 pursuant to 28 U.S.C. § 2255 was denied.
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       In his motion, the defendant asserts his plea of guilty was

 involuntary and that he received ineffective assistance of counsel.

       Federal Rule of Civil Procedure 60(b) does not provide a basis

 for relief from a criminal judgment. United States v. O'Keefe, 169

 F.3d 281, 289 (5th Cir. 1999).       Accordingly, Rule 60(b) does not

 provide the court with a jurisdictional basis to consider movant's

 motion.    Under other circumstances, the court might liberally

 construe the defendant's filing as a motion to vacate, set aside or

 correct sentence.       However, as a prior motion to vacate was

 dismissed, the defendant may not file a successive motion to vacate

 without receiving permission from the United States Court of

 Appeals for the Fifth Circuit.      The defendant does not state he has

 received such permission.

       The defendant’s motion is an “unauthorized [motion] which

 [this] court lacks jurisdiction to entertain.”              United States v.

 Bermea-Cepeda, 310 Fed.Appx. 690, 691 (5th Cir. 2009) (citing United

 States v. Early, 27 F.3d 140, 142 (5th Cir. 1994)).             As a result,

 the motion should be denied.

                              Recommendation

       The defendant’s motion for reconsideration should be denied.




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                                      Objections

       Within 14 days after receipt of the magistrate judge’s report,

 any party may serve and file written objections to the findings and

 recommendations contained in the report.

       A party’s failure to file written objections to the findings,

 conclusions and recommendation contained in this report within 14

 days after being served with copy shall bar that party from de novo

 review by the district judge of those findings, conclusions and

 recommendation      and,        except    on       grounds    of   plain   error,    from

 appellate   review      of      unobjected-to         factual      findings   and   legal

 conclusions accepted and adopted by the district court. Douglas v.

 United States Auto Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996)(en

 banc).


          Hello This is a Test
       SIGNED this        23      day of              August            , 2010.




                                                     EARL S. HINES
                                                     UNITED STATES MAGISTRATE JUDGE




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